          IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF MISSOURI
                        EASTERN DIVISION

JEFFREY WEINHAUS,                  )
                                   )
            Petitioner,            )
                                   )
     v.                            )      No. 4:17-CV-01941-DDN
                                   )
JOSHUA DAVID HAWLEY,               )
                                   )
            Respondent.            )

            RESPONSE TO AMENDED HABEAS PETITION

                    Statement of Custody and Parties

     Jeffrey Weinhaus serves concurrent sentences of two, thirty, and thirty

years of imprisonment for possession of a controlled substance, first-degree

assault on a law enforcement officer, and armed criminal action in the

Eastern Reception Diagnostic Correctional Center in Bonne Terre, Missouri.

The Circuit Court of Lafayette County imposed these sentences after a jury

trial. Troy Steele is the Warden of the Eastern Reception Diagnostic

Correctional Center and the proper respondent in this case. Because

Weinhaus is not challenging a consecutive sentence that he has not yet begun

to serve, Joshua Hawley, the Attorney General of Missouri, is not a proper

respondent in this case. Habeas Rule 2.
                                 Case Summary


      The petition for habeas corpus appears to be timely.

         Weinhaus raises nine claims of ineffective assistance of trial counsel in

his first ground. Some of what Weinhaus raises appears to have been rejected

on the merits by the Missouri Court of Appeals, and that decision is entitled

to deference. The remaining claims are procedurally barred and without

merit.

      In his second ground, Weinhaus appears to allege that the events that

lead to a search warrant and the recovery of drugs on his property had their

roots in his political speech. This claim does not seem to be a challenge to

confinement cognizable under 28 U.S.C. § 2254(a). To the extent it is the

claim is a non-cognizable Fourth Amendment claim under Stone v. Powell,

428 U.S. 465 (1976). The ground is also irretrievably procedurally barred

because Weinhaus did not raise the claim on direct appeal and did not allege

direct appeal counsel was ineffective for not raising it when the case was in

state court.

      In his third ground, Weinhaus makes a Fourth Amendment challenge

to a search and seizure. The ground is also irretrievably procedurally barred

because Weinhaus did not raise the claim on direct appeal and did not allege




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direct appeal counsel was ineffective for not raising it when the case was in

state court. The ground is also not cognizable under Stone v. Powell.

      In his fourth ground, Weinhaus alleges it was cruel and unusual

punishment to require him to wear a stun device during trial. Weinhaus does

not allege that the jury was ever aware of the device or that he was ever

stunned. This is not really a challenge to current confinement under 28 U.S.C

§ 2254(a). The ground is also irretrievably procedurally barred because

Weinhaus did not raise the claim on direct appeal and did not allege direct

appeal counsel was ineffective for not raising it when the case was in state

court. He also alleges the trial court should have sua sponte granted a

mistrial when it granted the motion for acquittal on the judicial tampering

count. That claim is without merit.

      In his fifth ground, Weinhaus again alleges that the trial court should

have sua sponte declared a mistrial on all counts when the court granted a

motion for a judgment of acquittal on the judicial tampering count. The

Missouri Court of Appeals reasonable rejected this ground and its decision is

entitled to deference under 28 U.S.C. § 2254(d). He also alleges the trial court

should have sua sponte given a limiting instruction on the video supporting

the judicial tampering count. The claim is barred and without merit.

Weinhaus also alleges the trial court erred in not allowing the jury to

consider frame captures from Weinhaus’s watch video, even though he earlier

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alleged counsel was ineffective for not presenting frame captures. The claim

is barred and without merit. He also alleges the trial court erred in not

admitting unspecified demonstrative evidence and in forcing Weinhaus to

wear a stun device. The claims are barred and without merit.

      In his sixth ground, Weinhaus repackages some of his earlier claims as

equal protection claims, and appears to challenge the nature and sufficiency

of the evidence as an equal protection claim. Insofar as Weinhaus is raising

the sufficiency of the evidence claims that he presented on direct appeal, the

decision of the Missouri Court of Appeals is entitled to deference. Insofar as

he is asserting ineffective assistance of counsel claims and claims about the

shock device those grounds fail for the reasons discussed in connection with

those grounds. Claims about evidentiary rulings generally do not raise a

federal issue. And the claims Weinhaus did not raise in the ordinary course of

review are procedurally barred.


                          Statement of Exhibits

     1. Respondent’s Exhibit 1 is an offender search result.

     2. Respondent’s Exhibit 2 is volume 1 of the trial transcript.

     3. Respondent’s Exhibit 3 is volume 2 of the trial transcript.

     4. Respondent’s Exhibit 4 is volume 3 of the trial transcript.

     5. Respondent’s Exhibit 5 is the sentencing transcript.


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      6. Respondent’s Exhibit 6 is volume 1 of the legal file.

      7. Respondent’s Exhibit 7 is volume 1 of the legal file, part 2.

      8. Respondent’s Exhibit 8 is volume 3 of the legal file.

      9. Respondent’s Exhibit 9 the appendix to Weinhaus’s brief.

      10.   Respondent’s Exhibit 10 is Weinhaus’s direct appeal brief.

      11.   Respondent’s Exhibit 11 is the supplemental appellate legal file.

      12.   Respondent’s Exhibit 12 is the State’s direct appeal brief.

      13.   Respondent’s Exhibit 13 is Weinhaus’s reply brief.

      14.   Respondent’s Exhibit 14 is the appellate memorandum.

      15.   Respondent’s Exhibit 15 is the direct appeal docket sheet.

      16.   Respondent’s Exhibit 16 is the PCR legal file.

      17.   Respondent’s Exhibit 17 is Weinhaus’s PCR appellate brief.

      18.   Respondent’s Exhibit 18 is the States’ PCR appellate brief.

      19.   Respondent’s Exhibit 19 is the PCR appellate opinion.

      20.   Respondent’s Exhibit 20 is the PCR appellate docket sheet.

                                   Analysis

                            Standard of Analysis

      In order to preserve issues for habeas review, a state prisoner must

fairly present his or her claims to state courts during direct appeal or in post-

conviction appeal proceedings. Sweet v. Delo, 125 F.3d 1144, 1149 (8th Cir.

1997). Failure to raise a claim in a post-conviction appeal is an abandonment

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of the claim. Id. at 1150 (citing Reese v. Delo, 94 F.3d 1177, 1181 (8th Cir.

1996)). Where a prisoner has defaulted his claims in state court pursuant to

an independent and adequate state procedural rule, such as failing to raise

claims on appeal, habeas review of the claims is barred. Coleman v.

Thompson, 501 U.S. 722, 750 (1991). A petitioner may overcome the

procedural bar if he can demonstrate a legally sufficient cause for the default

and actual prejudice resulting from it. Id.; State ex rel. Nixon v. Jaynes, 63

S.W.3d 210, 215 (Mo. 2001) (adopting federal cause and prejudice analysis as

means for reviewing of defaulted claims in habeas corpus where there is no

gateway actual innocence).

      The United States Supreme Court held, in Martinez v. Ryan, that

procedural default will not bar a federal habeas court from hearing a

substantial claim of ineffective assistance of trial counsel if the petitioner’s

post-conviction counsel was ineffective in failing to assert the claim in the

motion. Martinez v. Ryan, 132 S. Ct. 1309, 1320 (2012). “Martinez offers no

support, however, for the contention that the failure to preserve claims on

appeal from a [post-conviction] proceeding can constitute cause.” Arnold v.

Dormire, 675 F.3d 1082, 1087 (8th Cir. 2012). Martinez also does not apply to

defaulted claims of ineffective assistance of direct appeal counsel, as opposed

to ineffective assistance of trial counsel. Dansby v. Hobbs, 766 F.3d 809, 833

(8th Cir. 2014).

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      A petitioner may not allege “cause” excusing the default of a claim of

trial court error based on ineffective assistance of appellate counsel, if he did

not assert a claim of ineffective assistance of appellate counsel in state court,

for not raising the alleged trial error claim. See Edwards v. Carpenter, 529

U.S. 446, 450–54 (1999); see also Fields v. Roper, 448 F.Supp.2d 1113, 1117

(E.D. Mo. 2006).

      Furthermore, to overcome a procedural default, it is not enough for a

petitioner to assert a cause for the default; he must also show actual

prejudice resulting from it. Coleman, 501 U.S. at 750. To show prejudice, a

petitioner must show not merely that the alleged cause created the possibility

of prejudice, but worked to his actual and substantial disadvantage. See

United States v. Frady, 456 U.S. 152, 153 (1982). The Eighth Circuit has

“observed that [procedural bar] ‘prejudice’ is higher than that required to

establish ineffective assistance of counsel under Strickland.” Charron v.

Gammon, 69 F.3d 851, 858 (8th Cir. 1995).

      State court decisions on federal issues are entitled to great deference

under 28 U.S.C. § 2254(d). A state court decision must be left undisturbed

unless the decision was contrary to or involved an unreasonable application

of clearly established federal law as determined by the Supreme Court of the

United States, or the decision was based on an unreasonable determination



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of the facts in light of the evidence presented in state court. Colvin v. Taylor,

324 F.3d 583, 586–87 (8th Cir. 2003).

      A decision is contrary to United States Supreme Court precedent if it

decides a case based on a different rule of law than the rule dictated by

United States Supreme Court precedent, or it decides a case differently than

the United States Supreme Court did on materially indistinguishable facts.

Id. A decision may only be overturned, as an unreasonable interpretation or

application of clearly established United States Supreme Court precedent, if

the decision is both wrong and an objectively unreasonable interpretation or

application of United States Supreme Court precedent. Id. A federal habeas

court may not disturb an objectively reasonable state court decision on a

question of federal law even if the decision is, in the federal court’s view,

wrong under Eighth Circuit precedent, and even if the habeas court would

have decided the case differently on a clean slate. Id. Further, failure to

extend a United States Supreme Court precedent is not an objectively

unreasonable interpretation or application of that precedent. “Section

2254(d)(1) provides a remedy for instances in which a State court

unreasonably applies this Court’s [the United States Supreme Court’s]

precedent; it does not require courts to extend that precedent or license

federal courts to treat failure to do so as error.” White v. Woodall, 134 S. Ct.

1697, 1706 (2014) (emphasis and bold in original). State court factual

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determinations are presumed to be correct and this presumption can only be

rebutted by clear and convincing evidence. 28 U.S.C. § 2254(e)(1).

        Merits analysis turns on whether the decision of the Missouri courts is

consistent with an objectively reasonable application of United States

Supreme Court precedent.          Under this standard, “[a] state court’s

determination that a claim lacks merit precludes habeas relief so long as fair

minded jurists could disagree.” Harrington v. Richter, 131 S. Ct. 770, 786

(2011). “If this standard is difficult to meet, that is because it was meant to

be.” Id. “It preserves authority to issue the writ in cases where there is no

possibility that fair-minded jurists could disagree that the state court

decision conflicts with this Court’s [the United States Supreme Court’s]

precedents. It goes no farther.” Id. A federal habeas court reviews the

decision, not the reasoning, of the state court and if the decision can be found

to be objectively reasonable on any basis, including, but not limited to the

basis articulated in the state court opinion, then the decision must be left

undisturbed. Williams v Roper, 695 F.3d 825, 835 (8th Cir. 2012) (noting that

it would be contrary to the intent of the statute to grant relief “if the specific

reason articulated is not a reasonable basis to reject his claim” but another

reasonable basis to support the decision exists).

   I.     The ineffective assistance of counsel claims in ground one
          fail.


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      Ineffective assistance of counsel claims are controlled by Strickland v.

Washington, 466 U.S. 688 (1994). Under Strickland, a petitioner claiming

that his counsel was constitutionally ineffective “must show: (1) that his

lawyer’s representation fell below an objective standard of reasonableness;

and (2) that the lawyer’s deficient performance prejudiced the defendant.”

Abernathy v. Hobbs, 748 F.3d 813, 816 (8th Cir. 2014) (citing Strickland, 466

U.S. at 688, 694). A petitioner must satisfy both prongs of Strickland to

obtain relief. Wong v. Belmontes, 558 U.S. 15, 16 (2009). Courts are not

required to consider both prongs of the two-part Strickland test if a petitioner

makes an insufficient showing on one prong. See Strickland, 466 U.S. at 697

(“there is no reason for a court deciding an ineffective assistance claim … to

address both components of the inquiry if the defendant makes an

insufficient showing on one…[i]f it is easier to dispose of an ineffectiveness

claim on the ground of lack of sufficient prejudice…that course should be

followed.”). “The standards created by Strickland and § 2254(d) are both

‘highly deferential,’ and when the two apply in tandem, review is ‘doubly’ so.”

Harrington, 562 U.S. at 105 (internal citations omitted).

      The question before this Court is not whether Weinhaus has met his

burden to show a viable claim of ineffective assistance of counsel under

Strickland on the claims reviewed by the Missouri courts, instead the “pivotal

question” is whether the Missouri state courts’ decisions were consistent with

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and a reasonable application of Strickland.      Id. at 101. They are. The

Missouri state court decisions should not be disturbed and this Court should

affirm the district court’s denial.

      Weinhaus alleges counsel was ineffective not calling FBI to testify at

trial in a way that might create discrepancies with the testimony of Highway

Patrol Officers. The Missouri Court of Appeals rejected this claim. Resp. Exh.

19 at 9–11. The Court of Appeals found that even if the FBI agents testified

as Weinhaus alleged they would, that they did not see a holster on his right

hip as opposed to a left hip, where Weinhaus alleges it was, there was no

allegation that the FBI were in a position to see a holster, and in any event

such testimony would not have provided a viable defense, and did not rise to

the level of Strickland prejudice. The decision of the court of Appeals is

consistent with a reasonable application of Strickland and must be left

undisturbed. Weinhaus opened the flap of his holster, put his hand on his

weapon, refused to lie on the ground when ordered, and told deputies they

would have to shoot him. Id. at 4–5. Assuming for the sake of argument the

holster was on Weinhaus’s left hip as opposed to his right hip; that does not

provide a viable defense.

      Weinhuas alleges counsel failed to show the jury screen capture photos

from a video taken by Weinhaus’s watch that allegedly would have supported

the claim that his weapon was holstered on his left hip rather than his right

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hip. The claim is procedurally barred because Weinhaus did not raise it in his

post-conviction appellate brief. The claim is also without merit. In rejecting a

claim that counsel was ineffective for hiring an expert to interpret the video

from Weinhaus’s watch camera, the Court of Appeals pointed out that the

jury viewed the video itself. Id. at 12. In rejecting a claim that counsel was

ineffective for not calling a witness who would have testified that that

Weinhaus usually holstered his on his left hip, the Court of Appeals found

that even if the weapon was on the left hip; there was no prejudice Id. at 11.

The analysis is the same here. That counsel did not present screen capture

photographs of the video in addition to the video itself does meet either prong

of Strickland.

      Weinhaus makes a generalized complaint about defense counsel’s lack

of “ability” to cross-examine witnesses, without any specifics. This claim is

procedurally barred because it was not raised in the post-conviction review

appeal. It is also without merit because such a generalized claim fails to state

a claim on which relief can be granted under Strickland.

      Weinhaus alleges trial counsel was ineffective for not calling the local

sheriff to attack the search warrant; because according to Weinhaus, local

law enforcement officers must assist the Highway Patrol in executing search

warrants and this could have helped suppress the evidence against him. This

claim is procedurally barred because it was not raised in the post-conviction

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review appeal. The claim is also without legal merit. Under Missouri law, the

execution of a search warrant by the Highway Patrol within the State of

Missouri, without the participation of local law enforcement, does not make

the evidence inadmissible. State v. Walker, 330 S.W.3d 122 (Mo. App. E.D.

2010). Counsel cannot have violated either prong of Strickland by declining

to pursue a meritless and futile strategy.

        Weinhaus alleges counsel was ineffective for not objecting to Weinhaus

wearing a stun device during trial. This claim is procedurally barred because

it was not raised in the post-conviction review appeal. The claim is also

without legal merit. Weinhaus does not allege that the jury was aware of the

restraint or that Weinhaus was stunned with the device. Weinhaus was

charged with first-degree assault on a law enforcement officer and tampering

with a judicial officer, among other things. In Missouri, the use of physical

restraints is discretionary with the trial court, and an abuse of discretion will

be found only if the use of the restraint offends the logic of the circumstances

or is arbitrary and unreasonable. Nicklasson v. State, 105 S.W.3d 482, 486

(Mo. 2010) (claim of ineffective assistance of counsel for not challenging use of

restraints was without merit). Weinhaus meets neither prong of Strickland

here.

        Weinhaus alleges that counsel should have requested a mistrial on all

charges after he succeeded in receiving a judgment of acquittal on the judicial

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tampering count. As point VII in his direct appeal brief, Weinhaus alleged

that the trial court erred in not granting a mistrial after it granted

Weinhaus’s motion for acquittal on the judicial tampering count. The Court of

Appeals found that the evidence admitted on the judicial tampering count

was also admissible on the first-degree assault count because it presented a

complete picture of the events; it went to motive and intent on the first-

degree assault count, and its probative value exceeded its prejudicial effect.

Resp. Ex. 14 at 10–12. Counsel cannot have been ineffective for not filing a

motion for mistrial that was without merit.

      Weinhaus alleges counsel was ineffective for not calling witnesses who

would have supported the claim that he was unable to commit or incapable of

committing the crimes charged. This claim is procedurally barred because it

was not raised in the post-conviction review appeal. The claim is also without

merit. The Missouri Court of Appeals set out the evidence supporting

conviction in the direct appeal opinion. Resp. Ex. 14 at 3–7. The evidence

proved all the elements of all the offenses of which Weinhaus was convicted

beyond a reasonable doubt. Weinhaus does not allege specifically what

additional evidence counsel should have presented that show he was unable

to commit the offense. But the evidence showed he did commit the offenses.

There is no Strickland violation here.



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         Weinhaus alleges counsel was ineffective for moving to strike or restrict

the use of the video related to the judicial tampering count. This claim is

procedurally barred because it was not raised in the post-conviction review

appeal. The claim is also without merit. The Court of Appeals found, in

discussing a different claim, that the evidence admitted on the judicial

tampering count was also admissible on the first-degree assault count

because it presented a complete picture of the events, it went to motive and

intent on the first-degree assault count, and its probative value exceeded its

prejudicial effect. Id. at 10–12. Counsel cannot have been ineffective for not

filing a motion that was without merit.

   II.      The First Amendment claim is barred and without merit.

         Weinhaus alleges that the event that originally brought law

enforcement officers to his home was his statements that were viewed as

threats against a judge that he views as protected by the First Amendment.

So, he argues that he should not be prosecuted for any events that flowed

from that, including the officers smelling drugs and getting a search warrant,

and the subsequent assault on a law enforcement officer charges resulting

from the attempt to arrest Weinhaus. This claim does not seem to definitely

be a challenge to confinement, cognizable under 28 U.S.C. § 2254(a). To the

extent it is the claim is a non-cognizable Fourth Amendment claim under

Stone v. Powell, 428 U.S. 465 (1976), alleging that evidence should be

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suppressed as fruit of a poisonous tree. The ground is also irretrievably

procedurally barred because Weinhaus did not raise the claim on direct

appeal and did not allege direct appeal counsel was ineffective for not raising

it when the case was in state court.

   III.   The Fourth Amendment Claim is barred and without merit.

      In his third ground, Weinhaus makes a Fourth Amendment challenge

   to a search and seizure. The ground is irretrievably procedurally barred

   because Weinhaus did not raise the claim on direct appeal and did not

   allege direct appeal counsel was ineffective for not raising it when the case

   was in state court. The ground is also not cognizable under Stone v.

   Powell, 428 U.S. 465 (1976), which teaches that habeas corpus may not be

   used to raise search and seizure claims where, as in Missouri, there are

   state procedures that may be used to raise such claims.

   IV.    Weinhaus’s Eighth Amendment Claim is likely not cognizable
          and is barred and without merit.

      In his fourth ground, Weinhaus alleges it was cruel and unusual

   punishment to require him to wear a stun device during trial. Weinhaus

   does not allege that the jury was ever aware of the device or that he was

   ever stunned. This is not really a challenge to current confinement under

   28 U.S.C § 2254(a). The ground is also irretrievably procedurally barred

   because Weinhaus did not raise the claim on direct appeal and did not


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   allege direct appeal counsel was ineffective for not raising it when the case

   was in state court.

      Weinhaus does not allege that the jury was aware of the restraint or

that Weinhaus was stunned with the device. So, there is no Due Process

Clause violation alleged here from the jury being prejudiced by viewing

Weinhaus in restraints. Weinhaus was charged with first-degree assault on a

law enforcement officer and tampering with a judicial officer among other

things. In Missouri, the use of physical restraints is discretionary with the

trial court and an abuse of discretion will be found only if the use of the

restraints is offends the logic of the circumstances or is arbitrary and

unreasonable. Nicklasson v. State, 105 S.W.3d 482, 486 (Mo. 2010) (claim of

ineffective assistance of counsel for not challenging use of restraints was

without merit). Weinhaus does not set out an Eighth Amendment violation or

any other constitutional violation here.

      Weinhuas also alleges in this ground that the trial court erred in not

sua sponte granting a mistrial on all counts after granting the motion to

acquit on the judicial tampering count. The Court of Appeals found that the

evidence admitted on the judicial tampering count was also admissible on the

first-degree assault count because it presented a complete picture of the

events, it went to motive and intent on the first-degree assault count, and its

probative value exceeded its prejudicial effect. Resp. Ex. 14 at 10–12. And the

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decision not to sua sponte grant a mistrial that the defense does not request

can seldom if ever be a due process violation. See Carter v. Armontrout, 929

F.2d 1294, 1297 (8th Cir. 1991) (noting double jeopardy problems from sua

sponte granting a mistrial or issuing a curative instruction the defense do not

ask for).

   V.       The claims raised in ground five are barred or without merit
            or both.


        In his fifth ground Weinhaus again alleges that the trial court should

have sua sponte declared a mistrial on all counts when the court granted a

motion for a judgment of acquittal on the judicial tampering count. As

discussed above, the Missouri Court of Appeals reasonably rejected this

ground and its decision is entitled to deference under 28 U.S.C. § 2254(d).

And as discussed above under Carter v. Armontrout, it is doubtful such a

claim could rise to the level of a due process violation.

        He also alleges the trial court should have sua sponte given a limiting

instruction on the video supporting the judicial tampering count. The claim is

irretrievably barred because Weinhuas did not raise it on direct appeal and

did allege appellate counsel was ineffective for not raising it. The claim is

without merit for the same reasons as the mistrial claim. That is the evidence

was relevant and admissible on the assault count, and even if it were not the

court should not sua sponte have given a limiting instruction.

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      Weinhaus also alleges the trial court erred in not allowing the jury to

consider frame captures from Weinhaus’s watch video, even though he earlier

alleged counsel was ineffective for not presenting frame captures. The claim

is barred because Weinhaus did not raise it on direct appeal and did not

allege appellate counsel was ineffective for not raising it. Evidentiary claims

are really state law issues and to the extent they involve the Due Process

Clause it is only in the most egregious circumstances See Carter, 929 F2d at

1296. There is no error constitutional violation here.

      He also alleges the trial court erred in not admitting unspecified

demonstrative evidence, and in forcing Weinhaus to wear a stun device. The

claims are barred and without merit. The stun device claim fails for the

reasons discussed above. Evidentiary claims are really state law issues and to

the extent they involve the Due Process Clause it is only in the most

egregious circumstances See Carter, 929 F2d at 1296. There is no error

constitutional violation here.

      VI. The claims in ground 6 are barred or without merit or both.

      In his sixth ground, Weinhaus repackages some of his earlier claims as

equal protection claims, and appears to challenge the nature and sufficiency

of the evidence as an equal protection claim. Insofar as Weinhaus is raising

the sufficiency of the evidence claims that he presented on direct appeal, the

decision of the Missouri Court of Appeals is entitled to deference, insofar as

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he is asserting ineffective assistance of counsel claims and claims about the

shock device those grounds fail for the reasons discussed in connection with

those grounds. Claims about evidentiary rulings generally do not raise a

federal issue. And the claims Weinhaus did not raise in the ordinary course of

review are procedurally barred.

      The Missouri Court of Appeals reviewed the sufficiency of the evidence

on all counts direct appeal. Resp. Ex. 14 at 3–7. The decision of the Court of

Appeals that the State proved the elements beyond a reasonable doubt is

consistent with a reasonable application of Jackson v. Virginia, 443 U.S. 307

(1979) 28 U.S.C. § 2254(d). The remaining claims in ground 6 appear to be

nonspecific allegations about evidentiary rulings, ineffectiveness of counsel, a

Fourth Amendment complaint, and a complaint restraint during trial framed

as an equal protection claim. Respondent asserts a defense of procedural bar

and lack of merit to all these claims.

                                  Conclusion

      This Court should deny the petition for habeas corpus.


                                              Respectfully submitted,

                                              JOSHUA D. HAWLEY
                                              Attorney General

                                              /s/ Michael Spillane
                                              MICHAEL SPILLANE
                                              Assistant Attorney General

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CERTIFICATE OF SERVICE
I hereby certify that a true and
correct copy of the foregoing was
electronically filed by using the
ECM/CF e-filing system and
thereby served to counsel for
Petitioner, this 22nd day of
December, 2017.




/s/ Michael Spillane
MICHAEL SPILLANE
Assistant Attorney General




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